Jamison R. McCune, OSB No. 135547
mccune@bodyfeltmount.com
BODYFELT MOUNT LLP
319 SW Washington Street, Suite 1200
Portland, Oregon 97204
(503) 243-1022
Of Attorneys for Plaintiff

Veronica L. Manolio, AZ Bar No. 020230
vmanolio@mf-firm.com
MANOLIO & FIRESTONE, PLC
8686 E. San Alberto Dr., Suite 200
Scottsdale, Arizona 85258
(480) 222-9100
Pro Hac Vice Attorney for Plaintiff

                       UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               PORTLAND DIVISION

PACIFIC OFFICE AUTOMATION, INC., an             Case No. 3:20-cv-00651-AC
Oregon corporation,

                           Plaintiff,           PLAINTIFF’S RESPONSE IN
                                                OPPOSITION TO DEFENDANTS’
       v.                                       SECOND MOTION TO COMPEL
                                                FURTHER RESPONSES TO
PITNEY BOWES, INC., a Delaware                  INTERROGATORIES FROM
corporation; PITNEY BOWES GLOBAL                PLAINTIFF PACIFIC OFFICE
FINANCIAL SERVICES LLC, a Delaware              AUTOMATION, INC.
limited liability company; THE PITNEY
BOWES BANK, INC., a federal banking
institution; and WHEELER FINANCIAL
FROM PITNEY BOWES INC., a Delaware
corporation,

                           Defendants.

      Pacific Office Automation, Inc. (“POA”) now submits its Response to the Second
Motion to Compel Further Responses to Interrogatories (“Motion”) filed by Defendants
Pitney Bowes, Inc., et al. (“Pitney”) (Doc. 43) and respectfully requests that the Court

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                                                                 Attorneys at Law
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                                                                Portland OR 97204
                                                      Phone: 503-243-1022 Fax: 503-243-2019
deny the Motion because: (i) the Motion is entirely unnecessary – POA is providing both
the Fed. R. Civ. P. 34 custodial information and a privilege log, and POA has already
made those assurances to Pitney; (ii) the Motion was again filed inappropriately seeking
to enforce contention interrogatories specifically not allowed under Local Rule 33-1(d);
and (iii) again, POA provided fulsome and accurate responses to the interrogatories.
Pitney instructed POA that it was not necessary to provide written responses to the
Requests for Production, that the documents would be sufficient.           Now, Pitney is
attempting to enforce sanctions because POA followed Pitney’s instructions.
      This Second Motion just compounds the inappropriate and unwarranted nature of
Pitney’s first Motion to Compel. POA has fully answered the discovery and justifiably
explained to Pitney why its Motion was inappropriate and unwarranted. Instead of
waiting on the Court’s ruling on the first Motion, and without any communication to
POA, Pitney compounded the burden to the Court and parties, and went ahead and filed
this second Motion on issues that POA has already confirmed would be addressed.

                          RESPONSIVE MEMORANDUM

I.    INTRODUCTION
      Pitney’s Motion should be denied because POA has complied with its discovery
obligations in good faith. After POA provided a timeline for discovery responses and
documentation, Pitney represented to POA that no written response was necessary, and
all Pitney expected was “fulsome” production and confirmed its openness to the rolling
production of documents. See POA’s Exhibit 1 to Doc. 42. On December 4 and 14,
2020, POA then provided the documents and written responses to Pitney’s First Set of
Interrogatories. POA has repeatedly told Pitney that information is forthcoming and that
POA would cooperate as fully as it could. POA is continuing to look for and locate
responsive documentation for various requests, and POA will promptly provide responses



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                                                                 Attorneys at Law
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when processed and received. Pitney’s Motion to Compel should be denied because
POA has complied with its discovery obligations in good faith.

II.    LAW AND ARGUMENT

       A.     POA will be sending Custodial Information and Privilege Log before
              this Motion is heard by the Court, POA has already communicated
              that to Pitney prior to this Motion.

              1.     Category 2: Custodial Information
       It is unclear why Pitney felt compelled to file the present Motion despite discovery
progressing. Additionally, the custodial information as requested with details will be
provided as POA has already indicated to Pitney. Pitney filed this Motion without any
follow-up on this despite receiving confirmation that both would be provided.
              2.     Pitney’s Category 4: Privilege Log
       Regarding the Privilege Log, the truth of the matter is that there are not extensive
privileged communications. There are maybe five total emails which were found to be
privileged. POA was exceedingly cautious in asserting privilege over the disclosure, to
the point that potentially privileged communications inadvertently made it into the
discovery batch. In fact, Pitney identified two additional email chains which contained
privileged information. Those have since been added to the very limited log and are
being produced. There was no need for the present Motion, as POA has consistently
cooperated on this issue.

       B.     Regarding Category 2, Pitney’s Motion to Compel Should be Denied
              Due to the Motion being Unnecessary as POA followed Pitney’s
              Instructions on How to Provide Responses to Discovery and Exceeded
              POA’s Obligations.

       Pitney’s category 2 concerns and Pitney’s continued insistence on Fed. R. Civ. P.
34(b)(2)(E)(i) responses have already been addressed in POA’s Response to Motion to


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Compel (Doc. 42). As stated previously, Pitney is acting contrary to its own written
words.
         To reiterate, Pitney explicitly stated that written responses were not required. In
his November 20, 2020 email, Pitney’s counsel stated:

               “If you are referring to a written response to PBI’s First Request for
               Documents, please be advised that no such written response is
               necessary, because POA has waived all objections. All that remains
               is for you to provide the ‘fulsome’ production promised in your
               November 6 email. Similarly, if you are referring to a written
               response to PBI’s First Set of Interrogatories other than answering
               the interrogatories themselves, no such response is necessary,
               because, again, POA has waived all objections.

               “If, by ‘discovery responses’ you mean the actual production of
               documents, it is fine if you would like to produce them on a rolling
               basis.”

(Emphasis added.) See POA’s Exhibit 1 to Doc. 42.
         POA is not acknowledging Pitney’s incorrect statement about Fed. R. Civ. P. 34,
which does not provide that a responding party waive an objection not timely stated.
Compare Fed. R. Civ. P. 33(b)(4), with Fed. R. Civ. P. 34(b)(2)(C). Nevertheless, in
order to further Pitney’s formalistic procedural agenda, Pitney is attempting to frame
POA’s responses as insufficient. Pitney’s gamesmanship is further indicative of the lack
of good faith and its one-sided attempts to assert these issues before the Court, without
any reasonable solutions presented. Instead, POA went above and beyond and still
provided the documents along with written responses to assist Pitney.
         Accordingly, Pitney’s Motion to Compel should be denied due to the failure of
Pitney to comply with its obligations to engage in a good faith effort to resolve any
discovery dispute.
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       C.     The Fed. R. Civ. P. Rule 33(b)(3) Burden was Met by POA, POA
              Answered the Interrogatories in Detail, and is Continuing to
              Supplement as Discovery Continues.

       A complete reading of POA’s responses to Interrogatory Nos. 8-9 and 15-16
demonstrates that POA has provided more than adequate responses.

              1.       Regarding Interrogatory 8 and RFPD 26, POA has Fully Complied
                       and is Continuing to Comply with its Disclosure Obligations.
       POA provided a detailed identification of the relevant spreadsheet summarizing
training costs associated with training for its staff to comply with Pitney requirements.
POA confirmed that it would continue to look for supporting documentation and will
supplement accordingly as soon as it receives the full information.           POA is fully
complying with its disclosure obligations and will continue to do so as it has told Pitney
throughout this litigation.

              2.       Regarding Interrogatory 9 and RFPD 9, POA has Fully Complied
                       and is Continuing to Comply with its Disclosure Obligations.
       Pitney’s Contention Interrogatories have already been addressed in POA’s
Response to Motion to Compel (Doc. 42). As stated previously, Pitney’s motion is
predicated on contention interrogatories, which are prohibited under Local Rule 33-1(d).
Again, POA would first like to address the fact that Pitney’s waiver to objections
contention is wrong.
       POA provided Pitney with a clear timeline of discovery and disclosure and that is
still ongoing. Yet, Pitney continues to ask a contention interrogatory, seeking POA to
provide a computation of each category of damages alleged by POA well before the end
of disclosure.     POA has consistently stated that supporting documentation will be
disclosed as it is provided.
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              3.     Regarding Interrogatories 15 and 16, POA Fully Answered and
                     Provided Responsive Information.
        Regarding Interrogatory 15, Pitney is now asking whether the “PBI” referenced in
POA’s response is intended to be a reference to all Defendants or to Pitney Bowes Inc.
only.    POA’s response is full and clear.           This “clarification” is nothing but
gamesmanship.
        Regarding Interrogatory 16, Pitney asks POA to “identify all ‘other competing
brands’ that POA excluded from its sales portfolio as a result of alleged
misrepresentations and material omissions by Defendants.”              Paragraph 33 of the
Complaint states that:

                    “33. The U.S. Postal Service has limited authorization for the
              production of postage meters and postage to a few companies:
              Neopost, Francotyp Postalia, Data-Pac, and Stamps.com.”

Pitney has subsequently requested, in email, for POA to:

              “confirm whether POA alleges it was selling/leasing Neopost and/or
              Data-Pac products before it entered into the Dealer Agreement and, if
              so, to provide the dates on which POA alleges it stopped
              selling/leasing Neopost and Data-Pac products.”

        POA has fully responded to this interrogatory; it will continue to provide
disclosure for any information it finds that will provide clarification. Neither clarification
of fully answered interrogatories requires a motion to compel.

        D.    Regarding POA’s Responses to RFPDs 20 and 35, Pitney’s Motion to
              Compel Should be Denied Because POA has Complied in Good Faith
              with its Discovery Obligations.

        POA provided a complete response to RFPD 20; POA stated again that it was
unaware of any additionally responsive documents but will supplement this response
should something additional be discovered. POA then promised in full cooperation to


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locate financial documentation and/or payment information demonstrating its payment
for those items purchased from PBI under the Purchase Order listed and supplement this
response when that is obtained. Nothing has changed in POA’s intentions to cooperate
with this; hence, why POA said so in its discovery response.
       Regarding RFPD 35, POA has stated consistently that POA is not in the custody
or control of documentation of third parties and does not have access to provide the
“sales volume” of those third parties. This is information to be obtained by third-party
discovery. POA has encouraged Pitney to file third-party subpoenas for that information.
POA has fully met its discovery obligations, and it is unclear what Pitney is asking for in
relief, as POA has consistently stated POA is not in possession of the requested
information. You cannot squeeze discovery from a turnip, and that is all Pitney is
attempting to do here.

III.   CONCLUSION
       Instead of briefing a Reply to Pitney’s Motion to Compel (Doc. 38),1 Pitney filed
this additional Motion to Compel on similar issues. This again is a series of tactics not
concerned with the merits of the substantive issues. It is clear that the parties cooperated
on all significant issues of discovery. This remains an unnecessary filing.
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 Local Rule 26-3(c) does not allow for replies in support of discovery motions without leave of
Court.

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       POA respectfully asks the Court to deny Pitney’s motion, to sanction Pitney’s
misconduct, and to award POA’s attorneys’ fees and costs for this matter. This is
particularly troublesome when this Court has graciously offered to help all parties “avoid
the need to file” these exact types of motions and then Pitney’s has declined the Court’s
offer to conduct an informal proceeding to resolve the issue.


       Respectfully submitted this 16th day of March, 2021.

BODYFELT MOUNT LLP                          MANOLIO & FIRESTONE, PLC

By: s/ Jamison R. McCune                    By: s/ Veronica L. Manolio
   Jamison R. McCune, OSB #135547              Veronica L. Manolio, AZ Bar No. 020230
   Email: mccune@bodyfeltmount.com             Email: vmanolio@mf-firm.com
   Phone: (503) 243-1022                       Phone: (480) 222-9100
   Local Attorney for Plaintiff                Pro Hac Vice Attorney for Plaintiff




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                                                                   Attorneys at Law
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                            CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing to be served
upon all counsel of record to this matter on this 16th day of March, 2021, via the Court’s
CM/ECF System.

Philip Van Der Weele, OSB #863650
Elizabeth White, OSB #204729
K&L GATES LLP
One SW Columbia Street, Suite 1900
Portland, OR 97204
Tel.: (503) 226-5727\Fax: (503) 248-9085
Email: phil.vanderweele@klgates.com
        Elizabeth.White@klgates.com
        Attorneys for Defendants

Veronica L. Manolio
MANOLIO & FIRESTONE, PLC
8686 E. San Alberto Dr., Suite 200
Scottsdale, Arizona 85258
Tel.: (480) 222-9100
Email: vmanolio@mf-firm.com
        Pro Hac Vice Attorney for Plaintiff

       Dated this 16th day of March, 2021.


                            BY:     s/ Jamison R. McCune
                                  Jamison R. McCune, OSB No. 135547
                                  Email: mccune@bodyfeltmount.com
                                  Phone: (503) 243-1022
                                  Fax: (503) 243-2019
                                  Of Attorneys for Plaintiff




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                                                                    Attorneys at Law
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                                                                   Portland OR 97204
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